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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


                                              Case No. l1-cr-00315 (WHW)
 UNITED STATES OF AMERICA,

                        vs.
                                                         CONTINUANCE AND
 MITCHELL KURLANDER and
                                                        SCHEDULING ORDER
 ALAN ABESHAUS,

                        Defendants.


         THIS MATTER having been opened to the Court upon the application of defendant

 Mitchell Kurlander (William A. DeStefano appearing) and defendant Alan Abeshaus (Kevin H.

 Marino appearing), for an order granting a continuance of the proceedings in the above-

 captioned matter and for a scheduling order, and the defendants being aware that they have the

 right to have the matter brought to trial within 70 days of the date of their appearance before a

 judicial officer of this court pursuant to Title 18, United States Code, Section 3 161(c)(l), and the

 defendants having consented to such a continuance, and for good and sufficient cause shown,


        IT IS THE FINDING OF THIS COURT that this action should be continued for the

 following reasons:


         1.     The matter has been designated as a complex case pursuant to 18 U.S.C. §

 316l(h)(7)(B)(ii) by order dated September 12, 2011 [Dkt. # 19];


        2.      Defendants have requested the aforementioned continuance due to trial

 commitments in other pending matters; and


        3.      As a result of the foregoing, the ends of justice serve by granting the continuance
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 outweigh the best interests of the public and the defendants in a speedy trial.


         WHEREFORE, on this                     of July, 2012,


         IT IS ORDERED that the deadline to serve pretrial motions other than those by way of

 Fed. R. Crim. P. 12, which have already been decided, is forty-nine (49) days before trial.

 Responsive briefs shall be filed no later than twenty-one (21) days before trial. Any reply briefs

 shall be filed no later han 5
                             /urteen (14) days before trial. A hearing on the pretrial motions will

 be held on   /, tZ4ø ,20
         IT IS FUR     ER ORDERED that the trial is scheduled fo//                     /      and

         T IS FURTHER ORDERED that this action be, and hereby is, continued until

 /9           ,L ‘/3, and that the period from the date of this Order through
7,7               lj shall be excludable in computing time under the Speedy Trial Act of
 1974.

         IT IS FURTHER ORDERED that the remaining I’rovisions of the Or er for Discovery

 and Inspection shall remain in full force and effect.




                                                       II           .         S
                                              United States      nior District Judge
